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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


 RE:      OATNY BORGES                                                                      CASE NUMBER:23-16316 RAM


                     TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                       (If this case is dismissed, this deficiency is an objection to reinstate)

 The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
 or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
 objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
 documents needed. See Court Notice of Commencement for additional information and Trustee’s website
 www.CH13miami.com for forms and procedures.

 As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
 Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
 continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
 considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
 THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
 and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
 will be published with any changes to this recommendation the day before the hearing on the front page of the
 Trustee’s website.

          ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT
                                   RECEIPT***

TRUSTEE’S RECOMMENDATION FOR HEARING
                                                                                                   LAST REVIEWED: 1/16/2024


Plan served 12/13
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Continue to 2/13:
Due on or before 1/26: 1) Photo ID (color copy) - Updated with new address, 2) Evidence of $2,431.83
deposited on 8/12 (day after filing, was debtor holding funds pending petition filing), 3) Explanation of
withdrawal/debit/transfer and evidence of use from Acct #5939 6/5 $1,450.00, 4) Amend Plan to include IVL,
5) Object or Conform to Proof of Claim: #1 Tabas & Silver (plan under pays), 6) 2021/2022 tax returns missing
Sch 1 part 2, 7) BDQ, Profit/Loss & Balance Sheet and Business Bank statements and checks: 3 months pre-
petition (ending on the date of the petition), 8) Affidavit of support/child support order

LF 76 (Attorney Compliance with Claims Review) Bar Date:1/31/2024
Order (27) Reconvert not dismiss




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
